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         Exhibit 1
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From: "Hammond, Matthew (ATR)" <Matthew.Hammond@usdoj.gov>
Date: September 17, 2023 at 5:31:33 PM EDT
To: Medha_Swaminathan@dcd.uscourts.gov
Cc: "Schmidtlein, John" <JSchmidtlein@wc.com>, "Smurzynski, Kenneth" <KSmurzynski@wc.com>,
"Greenblum, Benjamin" <BGreenblum@wc.com>, "Connor, Colette" <CConnor@wc.com>, "Maier,
Gloria" <GMaier@wc.com>, "Hammond, Matthew (ATR)" <Matthew.Hammond@usdoj.gov>,
"Creighton, Susan" <screighton@wsgr.com>, "Rubinstein, Franklin" <frubinstein@wsgr.com>,
"Waszmer, Wendy" <wwaszmer@wsgr.com>, "Popofsky, Mark S." <Mark.Popofsky@ropesgray.com>,
"McGinnis, Matthew" <Matthew.McGinnis@ropesgray.com>, "Dintzer, Kenneth (ATR)"
<Kenneth.Dintzer2@usdoj.gov>, "Severt, Adam T (ATR)" <Adam.Severt@usdoj.gov>, "Goldstein, Jeremy
(ATR)" <Jeremy.Goldstein@usdoj.gov>, "Jensen, Elizabeth (ATR)" <Elizabeth.Jensen@usdoj.gov>, Jon
Sallet <Jon.Sallet@coag.gov>, William Cavanaugh <wfcavanaugh@pbwt.com>, Steve Kaufmann
<Steve.Kaufmann@coag.gov>, "Conrad, Joseph" <joseph.conrad@nebraska.gov>, "McKinley, Matt"
<Matt.McKinley@nebraska.gov>, "Bellshaw, Meagan (ATR)" <Meagan.Bellshaw@usdoj.gov>,
"Dahlquist, David (ATR)" <David.Dahlquist@usdoj.gov>, "Herrmann, Karl (ATR)"
<Karl.Herrmann@usdoj.gov>, "Hammond, Matthew (ATR)" <Matthew.Hammond@usdoj.gov>
Subject: RE: US v. Google (1:20‐cv‐03010) ‐ Expert Witness Order & Timing



                                       [EXTERNAL]
Ms. Swaminathan—

I am writing to update the U.S. Plaintiffs’ response to the Court’s request to be kept
abreast of the expected order and timing of expert testimony which we communicated
initially in my August 19 email below. The two changes are that we will not be calling
Michael Davies or Christine Hammer this coming week as previously disclosed. We now
do not expect to call Mr. Davies during our case-in-chief, and we are not calling Ms.
Hammer this week due to health-related reasons and are working to reschedule.

As a result, the weeks identified below are the earliest that an expert witness may
appear on behalf of U.S. Plaintiffs:

U.S. Plaintiffs’ Case-in-chief

   1. Sept. 18-22, 2023: No expert witnesses

   1. Sept. 26-28, 2023: Kinshuk Jerath (marketing expert)
      1. TBD – Christine Hammer (accounting expert) (could also be the following
           week)

   1. Oct. 2-6, 2023: Michael D. Whinston (economics expert)

U.S. Plaintiffs’ Rebuttal Case

   1. TBD
       o Douglas Oard (information retrieval expert) (responding to Google’s experts
         on scale and fact witnesses on scale)
                                               1
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       o Michael A. M. Davies (handset & wireless industry expert) (responding to fact
         witnesses on OEM and carrier options)
       o Kirsten Martin (privacy expert) (responding to Google’s privacy expert)
       o Michael D. Whinston (economics expert) (responding to Google’s economic
         experts)

Have a good day.

Matthew
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Matthew C. Hammond (he/him)
Attorney, MEC
Antitrust Div., U.S. Dep’t of Justice
Washington, DC
                  (office)
                  (mobile & best number to use)
matthew.hammond@usdoj.gov

From: Hammond, Matthew (ATR)
Sent: Saturday, August 19, 2023 9:01 PM
To: medha_swaminathan@dcd.uscourts.gov
Cc: Schmidtlein, John <JSchmidtlein@wc.com>; Smurzynski, Kenneth <KSmurzynski@wc.com>;
Greenblum, Benjamin <BGreenblum@wc.com>; Connor, Colette <CConnor@wc.com>; Maier, Gloria
<GMaier@wc.com>; Creighton, Susan <screighton@wsgr.com>; 'Rubinstein, Franklin'
<frubinstein@wsgr.com>; 'Waszmer, Wendy' <wwaszmer@wsgr.com>; 'Popofsky, Mark S.'
<Mark.Popofsky@ropesgray.com>; 'McGinnis, Matthew' <Matthew.McGinnis@ropesgray.com>;
Dintzer, Kenneth (ATR) <Kenneth.Dintzer2@usdoj.gov>; Severt, Adam T (ATR)
<Adam.Severt@usdoj.gov>; Goldstein, Jeremy (ATR) <Jeremy.Goldstein@usdoj.gov>; Hammond,
Matthew (ATR) <Matthew.Hammond@usdoj.gov>; Jensen, Elizabeth (ATR)
<Elizabeth.Jensen@usdoj.gov>; 'Jon Sallet' <Jon.Sallet@coag.gov>; 'William Cavanaugh'
<wfcavanaugh@pbwt.com>; 'Steve Kaufmann' <Steve.Kaufmann@coag.gov>; 'Conrad, Joseph'
<joseph.conrad@nebraska.gov>; 'McKinley, Matt' <Matt.McKinley@nebraska.gov>; Bellshaw, Meagan
(ATR) <Meagan.Bellshaw@usdoj.gov>; Dahlquist, David (ATR) <David.Dahlquist@usdoj.gov>; Hammond,
Matthew (ATR) <Matthew.Hammond@usdoj.gov>; Herrmann, Karl (ATR) <Karl.Herrmann@usdoj.gov>
Subject: US v. Google (1:20‐cv‐03010) ‐ Expert Witness Order & Timing

Ms. Swaminathan—

In response to the Court’s request at the Aug. 11, 2023 status conference, U.S.
Plaintiffs provide the expected order and timing of their expert witnesses based on the
witness order provided to Google on Aug. 15. This order may change as Plaintiffs adjust
the schedule in response to any witness conflicts from Google or third parties. We will
update the Court as the schedule changes.

U.S. Plaintiffs’ Case-in-chief

   1. Sept. 9-15, 2023
      1. Antonio Rangel (behavioral economics expert)

   2. Sept. 18-22, 2023
      1. Christine Hammer (accounting expert)
                                               2
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      2. Michael A. M. Davies (handset & wireless industry expert)

   1. Sept. 26-28, 2023
      3. Kinshuk Jerath (marketing expert)

   2. Oct. 2-6, 2023
      4. Michael D. Whinston (economics expert)

U.S. Plaintiffs’ Rebuttal Case

   1. TBD
      5. Douglas Oard (information retrieval expert) (responding to Google’s experts
         on scale and fact witnesses on scale)
      6. Michael A. M. Davies (handset & wireless industry expert) (responding to fact
         witnesses on OEM and carrier options)
      7. Kirsten Martin (privacy expert) (responding to Google’s privacy expert)
      8. Michael D. Whinston (economics expert) (responding to Google’s economic
         experts)

Have a good day.

Matthew
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Matthew C. Hammond (he/him)
Attorney, Media, Entertainment & Communications Section
Antitrust Division, U.S. Department of Justice
450 5th Street, N.W., Suite 7000
Washington, DC 20530
                  (office)
                  (mobile & best number to use)
matthew.hammond@usdoj.gov




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